                                                                         Page 1 of 68
         Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 1 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                         Page 2 of 68
         Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 2 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                         Page 3 of 68
         Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 3 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                         Page 4 of 68
         Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 4 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                         Page 5 of 68
         Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 5 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                         Page 6 of 68
         Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 6 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                         Page 7 of 68
         Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 7 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                         Page 8 of 68
         Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 8 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                         Page 9 of 68
         Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 9 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 10 of 68
        Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 10 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 11 of 68
        Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 11 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 12 of 68
        Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 12 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 13 of 68
        Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 13 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 14 of 68
        Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 14 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 15 of 68
        Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 15 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 16 of 68
        Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 16 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 17 of 68
        Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 17 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 18 of 68
        Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 18 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 19 of 68
        Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 19 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 20 of 68
        Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 20 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 21 of 68
        Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 21 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 22 of 68
        Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 22 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 23 of 68
        Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 23 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 24 of 68
        Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 24 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 25 of 68
        Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 25 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 26 of 68
        Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 26 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 27 of 68
        Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 27 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 28 of 68
        Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 28 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 29 of 68
        Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 29 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 30 of 68
        Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 30 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 31 of 68
        Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 31 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 32 of 68
        Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 32 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 33 of 68
        Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 33 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 34 of 68
        Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 34 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 35 of 68
        Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 35 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 36 of 68
        Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 36 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 37 of 68
        Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 37 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 38 of 68
        Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 38 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 39 of 68
        Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 39 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 40 of 68
        Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 40 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 41 of 68
        Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 41 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 42 of 68
        Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 42 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
                                                                       Page 43 of 68
        Case 1:17-cv-08223-PKC Document 101-48 Filed 07/22/19 Page 43 of 43




https://enf-ed2-ho:8443/axcng/resources/brava/2c05f7047a5a/lib/client.html?logLevel=error 9/19/2018
